        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 1 of 59


 1   ANTHONY J. ONCIDI (State Bar No. 118135)
     aoncidi@proskauer.com
 2   PHILIPPE A. LEBEL (State Bar No. 274032)
     plebel@proskauer.com
 3   DYLAN K. TEDFORD (State Bar No. 332951)
     dtedford@proskauer.com
 4   PROSKAUER ROSE LLP
     2029 Century Park East, Suite 2400
 5   Los Angeles, CA 90067-3010
     Telephone: (310) 284-5690
 6   Facsimile: (310) 557-2193

 7   Attorneys for Defendant
     HARRY WINSTON, INC.
 8

 9                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
10

11    SAMER SROUR AYOUB,                         Case No. _____________________
12                             Plaintiff,
13                                               DECLARATION OF PHILIPPE A. LEBEL
            v.
14    HARRY WINSTON, INC. and DOES 1
      to 100, inclusive,
15
                               Defendants.
16

17

18

19

20

21

22

23

24

25

26

27

28
                                             1
     DECLARATION OF PHILIPPE A. LEBEL
     CASE NO. ______________________
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 2 of 59


 1                            DECLARATION OF PHILIPPE A. LEBEL

 2   I, PHILIPPE A. LEBEL, declare as follows:

 3          1.      I am over the age of 18. I am an associate with the law firm Proskauer Rose LLP,

 4   counsel of record for defendant Harry Winston, Inc. (“Harry Winston”) in the action filed by

 5   Plaintiff Samer Srour Ayoub (“Plaintiff” or “Ayoub”), and am admitted to practice before this

 6   Court. Except as otherwise indicated below, I have personal knowledge of the facts set forth in

 7   this Declaration and, if called upon to do so, could and would testify competently thereto.

 8          2.      On February 5, 2021, Plaintiff, through his counsel, caused a copy of the

 9   Complaint and Summons to be served on Harry Winston by sending the Summons and

10   Complaint to me, pursuant to section 415.30 of the California Code of Civil Procedure (“Section

11   415.30”). A true and correct copy of the Summons and Complaint that were served on my

12   offices on February 5, 2021 are attached hereto as Exhibits A and B, respectively. Enclosed

13   with the Summons and Complaint was a Notice and Acknowledgement of Receipt – Civil

14   (“NAR”), pursuant to section 415.30 of the California Code of Civil Procedure. A true and

15   correct copy of the NAR served on my offices is attached hereto as Exhibit C.

16          3.      On February 24, 2021, I executed the NAR and it was served by U.S. Mail and

17   email upon counsel for Plaintiff. A true and correct copy of the executed NAR served on

18   Plaintiff’s counsel is attached hereto as Exhibit D.

19          4.      On March 3, 2021, Harry Winston filed its Answer to Plaintiff’s Complaint (the

20   “Answer”) in the San Francisco Superior Court and served it upon Plaintiff, through his counsel,

21   via email and U.S. Mail. A true and correct copy of the Answer is attached hereto as Exhibit E.

22          5.      Attached hereto as Exhibits F-1 through F-3 are true and correct copies of all

23   other all process, pleadings, and/or orders served on Harry Winston, in accordance with 28

24   U.S.C. § 1446(a).

25          ///

26          ///

27

28
                                                   2
     DECLARATION OF PHILIPPE A. LEBEL
     CASE NO. ______________________
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 3 of 59


 1          I declare under penalty of perjury under the laws of the United States and the State of

 2   California that the foregoing is true and correct. Executed this 5th day of March 2021 in West

 3   Hollywood, California.

 4                                                ___________________________________
                                                     _________________
                                                                    ________________________
                                                             PHILIPPEEA A.. LEBEL
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  3
     DECLARATION OF PHILIPPE A. LEBEL
     CASE NO. ______________________
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 4 of 59




                EXHIBIT $
     Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 5 of 59




                                                                CGC-21-588879




01/15/2021                                           KALENE APOLONIO
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 6 of 59




                EXHIBIT B
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 7 of 59




 1 Manny Starr (319778)
     manny@frontierlawcenter.com
 2 Dan Ginzburg (327338)                                                         ELECTRONICALLY
     Dan@frontierlawcenter.com
 3   Joseph A. Gross (332258)                                                        FILED
                                                                                 Superior Court of California,
     Joseph@frontierlawcenter.com                                                 County of San Francisco
 4   Frontier Law Center
     23901 Calabasas Road, #2074                                                     01/12/2021
                                                                                  Clerk of the Court
 5   Calabasas, CA 91302                                                            BY: KALENE APOLONIO
     Telephone: (818) 914-3433                                                                Deputy Clerk
 6   Facsimile: (818) 914-3433
 7 Attorneys for Plaintiff
     Samer Ayoub
 8
 9
                                  SUPERIOR COURT OF CALIFORNIA
10
                                     COUNTY OF SAN FRANCISCO
11
12 SAMER SROUR AYOUB,                                      )   NO.
                                                           )                           CGC-21-588879
13                 Plaintiff,                              )   COMPLAINT
                                                           )
14          v.                                             )   1. Meal Period Violation
                                                           )   2. Rest Period Violation
15 HARRY WINSTON, INC. and DOES 1 to 100,                  )   3. Failure to Pay Minimum Wage
     inclusive,                                            )   4. Failure to Pay Overtime
16                                                         )   5. Waiting Time Penalties
                   Defendants.                             )   6. Wage Statement Violation
17                                                         )   7. Violation of Unfair Competition Law
                                                           )   8. Unlawful Harassment in Violation of
18                                                             Government Code §12940(j)
                                                               9. Failure to Prevent Discrimination and
19                                                             Retaliation Pursuant to Government Code
                                                               §12940(k)
20                                                             10. Wrongful Termination in Violation of
                                                               Public Policy
21                                                             11. Wrongful Termination in Violation of
                                                               Labor Code §6310
22                                                             12. Intentional Infliction of Emotional
                                                               Distress
23
24
25                                   PRELIMINARY ALLEGATIONS

26 1.       Plaintiff Samer Srour Ayoub (“Plaintiff”) is a resident of Santa Clarita County.

27 2.       Defendant HARRY WINSTON, INC., (“WINSTON”) is a New York Corporation doing

28 business in San Francisco County.
                                                     -1-
                                                COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 8 of 59




 1 3.       Plaintiff does not know the true names and capacities of Does 1 to 100 and therefore uses

 2 fictitious names. Plaintiff will amend the complaint pursuant to Code of Civil Procedure section
 3 474 to allege the true names and capacities when ascertained.
 4 4.       All named and Doe defendants are collectively referred to as “Defendants.”

 5 5.       Plaintiff is informed and believes that each of the Defendants was the agent or employee of

 6 the other Defendants and acted in the scope of agency or employment.
 7 6.       On December 16, 2020 Plaintiff sent a PAGA letter via certified mail to Defendants and

 8 uploaded the letter to the Labor and Workforce Development Agency (“LWDA”) website (LWDA
 9 Case No. LWDA-CM-815862-20). Once the 65-day PAGA notice period elapses, Plaintiff will
10 amend his complaint to seek PAGA penalties.
11 7.       Pursuant to Labor Code section 2698, et. seq., Plaintiff will seek to represent all other

12 nonexempt security guards employed by Defendants in California during the PAGA Period.
13 (“Aggrieved Employees”)
14 8.       The PAGA Period is defined as December 16, 2019 through the date of settlement approval

15 or judgment.
16                                     FACTUAL ALLEGATIONS

17 9.       Defendants employed Plaintiff as a security guard from approximately February 19, 2019 to

18 September 15, 2020.
19 10.      Defendants employed Plaintiff and the Aggrieved Employees as security guards in

20 California. Therefore, Industrial Welfare Commission Wage Order 4 applies.
21 11.      Plaintiff and the Aggrieved Employees regularly performed “off-the-clock” work prior to

22 the start of their shifts; performing various tasks in preparation for their workday, including putting
23 on their radios, briefing, and other preparatory tasks.
24 12.      Defendants did not compensate Plaintiff and the Aggrieved Employees for this off-the-

25 clock work.
26 13.      As such, Defendants failed to pay Plaintiff and the Aggrieved Employees minimum wage

27 for all hours worked. Therefore, Defendants are in violation of Labor Code §1194.
28 14.      In many cases, Plaintiff and Aggrieved Employees worked for eight (8) hours or more in a
                                                      -2-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 9 of 59




 1 single shift.
 2 15.      Therefore, some of the off-the-clock work that Defendants failed to compensate Plaintiff

 3 and the Aggrieved Employees for was necessarily overtime work. Therefore, Defendants are in
 4 violation of Labor Code §1194
 5 16.      Plaintiff and the Aggrieved Employees were often denied compliant meal and rest periods,

 6 in violation of Labor Code §226.7.
 7 17.      Specifically, Plaintiff and the Aggrieved Employees were discouraged were always on-call

 8 and were expected to cut their purported breaks short if they received a call to return to work.
 9 18.      Despite their failure to provide Plaintiff and the Aggrieved Employees with compliant meal

10 and rest periods, Defendants failed to provide Plaintiff and the Aggrieved Employees with
11 “premium pay” for those missed meal and rest periods, in violation of Labor Coe §226.7
12 19.      As a result of Defendants’ violations of Labor Code §§226.7 and 1194, Plaintiff and the

13 Aggrieved Employees who are no longer employed by Defendants were not paid all wages due and
14 owing at the time their employment with Defendants ended, and thus are entitled to waiting time
15 penalties, as set forth in Labor Code §§201 – 203.
16 20.      Defendants utilized a rounding policy in determining Plaintiff and the Aggrieved

17 Employees’ wages earned. However, as a result of the rounding policy, Plaintiff and the Aggrieved
18 Employees’ wage statements did not accurately list the total hours worked or the number of hours
19 worked at each hourly rate.
20 21.      Additionally, Defendants failed to list, or compensate for, Plaintiff and the Aggrieved

21 Employees’ off-the-clock work. As a result of this failure, Plaintiff and the Aggrieved Employees’
22 wage statements did not accurately list the total hours worked or the number of hours worked at
23 each hourly rate.
24 22.      Therefore, Defendants’ failed to comply with the mandates of Labor Code §226.

25 23.      Defendants have profited by virtue of their non-compliance with the Labor Code; rather

26 than pay Plaintiff and the Aggrieved Employees minimum wage, overtime, and premium pay,
27 Defendants are free to treat those illegally withheld funds as profits, whereas businesses that
28 comply with the Labor Code cannot.
                                                     -3-
                                                 COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 10 of 59




 1 24.      Plaintiff was subjected to harassment based on the fact that he is middle eastern, and from

 2 the country of Jordan.
 3 25.      Specifically, Plaintiff's supervisor Luis Tapia asked Plaintiff if “[Plaintiff] would join ISIS

 4 and cut peoples’ heads off when he was rich.”
 5 26.      Plaintiff’s co-workers asked Plaintiff if “[Plaintiff] would convert to Islam and marry

 6 multiple wives.”
 7 27.      Plaintiff’s co-worker Officer Reese made physical threats against Plaintiff.

 8 28.      On July 3, 2020, Plaintiff texted Luis Tapia to inform him that Plaintiff did not feel safe

 9 working with Officer Reese after that threat.
10 29.      On July 4, 2020, Plaintiff e-mailed Mario Chavra, Defendant’s west coast manager, noting

11 that Officer Reese took significant issue with Plaintiff, threatened Plaintiff, and asked that he not be
12 scheduled to work alone with Officer Reese.
13 30.      The harassing conduct was ongoing, pervasive, and severe.

14 31.      On September 12, 2020 Plaintiff texted Mario Chavra to inform him that Officer Reese’s

15 conduct had become so severe that he needed to put in his two-week notice when Luis Tapia
16 returned.
17 32.      Specifically, Plaintiff noted “It’s too much I can’t do it anymore…”

18 33.      A reasonable Jordanian or person of middle eastern descent in Plaintiff’s circumstances

19 would have considered the work-environment to be intimidating, offensive, oppressive, or abusive.
20 34.      On September 15, 2020 Defendants terminated Plaintiff’s employment because Plaintiff

21 complained about unsafe working conditions vis-à-vis Officer Reese’s ongoing threats of physical
22 violence against Plaintiff.
23 35.      On December 16, 2020, Plaintiff exhausted his administrative remedies by filing a

24 Complaint of Discrimination with the California Department of Fair Employment & Housing
25 (“DFEH” regarding the claims alleged herein against Defendants. The DFEH issued immediate
26 rights-to-sue on December 16, 2020.
27 ///
28 ///
                                                       -4-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 11 of 59




 1                                      FIRST CAUSE OF ACTION

 2                                         Meal Period Violation

 3                                  By Plaintiff Against All Defendants

 4 36.      Plaintiff incorporates by reference the paragraphs above.

 5 37.      IWC Wage Order 4-2001 and Labor Code section 512 require employers to provide its

 6 employees with compliant meal periods.
 7 38.      These provisions also provide that an employer may not employ any person for a work

 8 period of more than five hours per day without a meal period of not less than 30 minutes.
 9 39.      Plaintiff was not provided with compliant meal and rest breaks as set forth above and

10 incorporated by reference herein.
11 40.      As a result, Defendants are required to remit premium pay pursuant to Labor Code section

12 226.7(c) for each missed break, which is one additional hour of pay at their regular rate of
13 compensation for each day that a meal period was not allowed.
14                                    SECOND CAUSE OF ACTION

15                                          Rest Period Violation

16                                  By Plaintiff Against All Defendants

17 41.      Plaintiff incorporates by reference the paragraphs above.

18 42.      Pursuant to Section 12 of IWC Wage Order 4-2001 every employer shall authorize and

19 permit employees to take rest periods of ten minutes for every four hours, or major fraction thereof,
20 worked.
21 43.      Pursuant to Labor Code section 226.7(c) and subpart (D) of paragraph 12 of IWC Wage

22 Order 4-2001, if an employer fails to provide an employee with the required rest period, the
23 employer shall pay the employee one hour of pay at the employee’s regular rate of compensation
24 for each workday that a rest period is not provided.
25 44.      Defendants violated Labor Code section 226.7(c) and IWC Wage Order 4-2001 when they

26 failed to provide Plaintiff and the Class with duty free rest periods, as more fully set forth above,
27 and incorporated herein by reference.
28 45.      As a result of Defendants’ violation of the law in requiring Plaintiff to perform work
                                                      -5-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 12 of 59




 1 without providing duty free rest periods, Plaintiff is entitled to premium pay.
 2                                     THIRD CAUSE OF ACTION

 3                                     Failure to Pay Minimum Wage

 4                                  By Plaintiff Against All Defendants

 5 46.      Plaintiff incorporates by reference the paragraphs above.

 6 47.      Pursuant to Labor Code section 1194 an employee who receives less than the legal

 7 minimum wage for all hours worked is entitled to recover the full amount of this minimum wage
 8 compensation in a civil suit.
 9 48.      Plaintiff was required to perform off-the-clock work virtually every day he worked.

10 49.      Defendants did not compensate Plaintiff for this off-the-clock work.

11 50.      Therefore, Defendants failed to provide Plaintiff with minimum wage for all hours worked,

12 and Plaintiff is entitled to recover the full amount of that minimum wage compensation in this civil
13 suit.
14 51.      Pursuant to Labor Code section 1194, Plaintiff is further entitled to recover interest, fees,

15 and costs.
16 Pursuant to Labor Code section 1194.2, Plaintiff is entitled to recover double the unpaid minimum
17 wage as liquidated damages.
18                                    FOURTH CAUSE OF ACTION

19                                     Failure to Pay Minimum Wage

20                                  By Plaintiff Against All Defendants

21 52.      Plaintiff incorporates by reference the paragraphs above.

22 53.      Pursuant to Labor Code section 1194 an employee who receives less than the legal overtime

23 wage for all overtime hours worked is entitled to recover the full amount of this overtime wage
24 compensation in a civil suit.
25 54.      Plaintiff was required to perform off-the-clock work virtually every day he worked.

26 55.      Defendants did not compensate Plaintiff for this off-the-clock work.

27 56.      Plaintiff regularly worked eight (8) hour shifts.

28 57.      Therefore, any uncompensated time on days where Plaintiff worked an eight (8) hour shift
                                                       -6-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 13 of 59




 1 is necessarily uncompensated overtime.
 2 58.      Therefore, Defendants failed to provide Plaintiff with overtime wages for all overtime hours

 3 worked, and Plaintiff is entitled to recover the full amount of that overtime compensation in this
 4 civil suit.
 5 59.      Pursuant to Labor Code section 1194, Plaintiff is further entitled to recover interest, fees,

 6 and costs.
 7                                     FIFTH CAUSE OF ACTION

 8                                         Waiting Time Penalties

 9                                  By Plaintiff Against All Defendants

10 60.      Plaintiff incorporates by reference the paragraphs above.

11 61.      Defendants terminated Plaintiff’s employment on September 15, 2020

12 62.      Defendants failed to provide Plaintiff with “premium pay” for non-compliant meal and rest

13 periods during their employment.
14 63.      Defendants failed to provide Plaintiff with minimum wage for all hours worked.

15 64.      Defendants failed to provide Plaintiff with overtime wages for all overtime hours worked.

16 65.      It follows that Defendants further failed to pay Plaintiff these wages earned at the

17 conclusion of their employment.
18 66.      As such, Defendants failed to pay Plaintiff all wages due and payable at the time of

19 termination, or the waiting time penalties thereon, as required by Labor Code §§ 201-203.
20 67.      Such a pattern, practice and uniform administration of corporate policy regarding illegal

21 employee compensation as described herein is unlawful and creates an entitlement to recovery by
22 the Plaintiff in a civil action, for the unpaid balance of the full amount of damages and penalties,
23 attorneys’ fees, and costs of suit according to the mandate of California Labor Code §§ 201-203,
24 218.5, and 1194.
25                                     SIXTH CAUSE OF ACTION

26                                       Wage Statement Violation

27                                  By Plaintiff Against All Defendants

28 68.      Plaintiff incorporates by reference the paragraphs above.
                                                       -7-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 14 of 59




 1 69.      Defendants failed to provide Plaintiff with compliant wage statements since the wage

 2 statements issued did not accurately list the total hours worked, number of hours worked at each
 3 hourly rate, wages earned, or the legal name of the employer, among other things.
 4 70.      Therefore, Plaintiff suffered an injury pursuant to Labor Code §§226(2)(B), and (C).

 5 71.      On information and belief, Defendants were advised by skilled lawyers and knew of the

 6 requirements of the California Labor Code, but intentionally and willfully failed to comply.
 7 72.      As a result of these knowing and intentional violations, Labor Code section 226(e) requires

 8 Defendants to pay to the greater of all actual damages or $50.00 for the initial pay period per
 9 employee in which the violation occurred, and $100.00 for each subsequent violation, plus
10 attorneys’ fees and costs.
11                                   SEVENTH CAUSE OF ACTION

12                                 Violation of Unfair Competition Law

13                                  By Plaintiff Against All Defendants

14 73.      Plaintiff incorporates by reference the paragraphs above.

15 74.      Defendants’ conduct described above constituted unfair competition.

16 75.      Specifically, Defendants have gained an unfair advantage over other similarly situated

17 businesses by unlawfully reducing their overhead costs by not paying their employees what they
18 are owed.
19 76.      Pursuant to Business and Professions Code 17203, Plaintiff is entitled to restitution of all

20 wrongfully withheld wages.
21 77.      Plaintiff may recover attorney fees pursuant to Code of Civil Procedure section 1021.5.

22                                    EIGHTH CAUSE OF ACTION

23                  Unlawful Harassment Violation of Government Code §12940(j)

24                                  By Plaintiff Against All Defendants

25 78.      Plaintiff incorporates by reference the paragraphs above.

26 79.      Pursuant to Government Code section 12940(j), it is unlawful for an employer or individual

27 to harass an employee on the basis of, among other things, the employee’s sex, gender, race, color,
28 and/or national origin.
                                                      -8-
                                                 COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 15 of 59




 1 80.      Defendants engaged in actions to harass Plaintiff because of his race and/or national origin.

 2 Defendants, and each of them, violated Government Code section 12940(j) by creating a hostile
 3 work environment and by failing to prevent said acts from occurring.
 4 81.      Plaintiff’s supervisor Luis Tapia asked Plaintiff if “[Plaintiff] would join ISIS and cut

 5 peoples’ heads off when he was rich.”
 6 82.      Plaintiff’s co-workers asked Plaintiff if “[Plaintiff] would convert to Islam and take

 7 multiple wives.”
 8 83.      The conduct described above was known by Defendants’ management.

 9 84.      Defendants are liable for the above-referenced individuals’ conduct because they were

10 supervisors and/or because Defendants knew, or should have known, of the conduct and failed to
11 prevent it and/or condoned it.
12 85.      Plaintiff believes that his race and/or national origin were the cause of the unwanted

13 harassing conduct described above.
14 86.      Defendants actions were sufficiently severe and pervasive to alter the conditions of

15 employment and thereby constituted a hostile work environment in violation of FEHA.
16 87.      As a direct, foreseeable, and proximate cause of Defendants actions, Plaintiff has suffered

17 and continues to suffer aggravation of his injuries, substantial losses in earnings and job benefits,
18 humiliation, embarrassment, mental and emotional distress, and discomfort, all to Plaintiff’s
19 damage in an amount in excess of the minimum jurisdiction of this Court, the precise amount of
20 which will be proven at trial.
21 88.      In doing all the acts herein alleged, Defendants, through their managing agents, acted with

22 oppression, fraud, malice, and in the conscious disregard of the rights of Plaintiff. Therefore,
23 Plaintiff is also entitled to punitive damages in an amount according to proof at the time of trial.
24 89.      Plaintiff, who has incurred and continues to incur attorneys’ fees and legal expenses, are

25 also entitled to recover said costs and fees in an amount according to proof at the time of trial,
26 pursuant to Government Code section 12965(b).
27 ///
28 ///
                                                      -9-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 16 of 59




 1                                     NINTH CAUSE OF ACTION

 2   Failure to Prevent Discrimination and Retaliation Pursuant to Government Code §12940(k)

 3                                  By Plaintiff Against All Defendants

 4 90.      Plaintiff incorporates by reference the paragraphs above.

 5 91.      During the course and scope of Plaintiff’s employment, and after, Defendants failed to

 6 prevent the above-referenced acts of discrimination towards Plaintiff in violation of Government
 7 Code section 12940, subdivision (k).
 8 92.      Defendant’s failure to undertake a prompt and adequate investigation and its complete

 9 failure to prevent the above-alleged acts of discrimination constitutes an unlawful employment
10 practice.
11 93.      As a proximate result of Defendant’s violation of Government Code section 12940,

12 subdivision (k), Plaintiff has suffered and continues to suffer aggravation of his injuries, substantial
13 losses in earnings and job benefits, humiliation, embarrassment, mental and emotional distress, and
14 discomfort, all to Plaintiff’s damage in an amount in excess of the minimum jurisdiction of this
15 Court, the precise amount of which will be proven at trial.
16 94.      In doing all the acts herein alleged, Defendants, through their managing agents, acted with

17 oppression, fraud, malice, and in the conscious disregard of the rights of Plaintiff. Therefore,
18 Plaintiff is also entitled to punitive damages in an amount according to proof at the time of trial.
19 95.      Plaintiff, who has incurred and continues to incur attorneys’ fees and legal expenses, are

20 also entitled to recover said costs and fees in an amount according to proof at the time of trial,
21 pursuant to Government Code section 12965(b).
22                                     TENTH CAUSE OF ACTION

23                         Wrongful Termination in Violation of Public Policy

24                                  By Plaintiff Against All Defendants

25 96.      Plaintiff incorporates by reference the paragraphs above.

26 97.      On July 3, 2020, July 4, 2020, and September 12, 2020, Plaintiff informed his supervisor

27 Luis Tapia, and the West Coast Manager Mario Chavra, about his co-worker’s repeated threats of
28 violence against him.
                                                      -10-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 17 of 59




 1 98.      There is an established public policy in favor or promoting a safe work environment, which

 2 is free from violence and/or threats of violence.
 3 99.      There is an established public policy in favor of encouraging employees to report threats of

 4 violence to their employers.
 5 100.     Rather than address Plaintiff’s repeated reports of his co-worker’s threats of violence,

 6 Defendants simply terminated Plaintiff’s employment to rectify the situation.
 7 101.     Specifically, Plaintiff made a final complaint about his co-worker’s threats of violence on

 8 September 12, 2020; Plaintiff was terminated on September 15, 2020.
 9 102.     In doing all the acts herein alleged, Defendants, through their managing agents, acted with

10 oppression, fraud, malice, and in the conscious disregard of the rights of Plaintiff. Therefore,
11 Plaintiff is also entitled to punitive damages in an amount according to proof at the time of trial.
12 103.     Plaintiff, who has incurred and continues to incur attorneys’ fees and legal expenses, are

13 also entitled to recover said costs and fees in an amount according to proof at the time of trial,
14 pursuant to Government Code section 12965(b).
15                                      ELEVENTH CAUSE OF ACTION

16                   Wrongful Termination in Violation of Government Code Section 6310

17                                      By Plaintiff Against All Defendants

18 104.     Plaintiff incorporates by reference the paragraphs above.

19 105.     Government Code section 6310 prohibits an employer from discharging or retaliating

20 against an employee for reporting unsafe working conditions, or work practices, in his place of
21 employment.
22 106.     Plaintiff reported credible threats of violence, made by his co-worker, to Defendants on

23 numerous occasions to no avail.
24 107.     Rather than rectify the situation, Defendants terminated Plaintiff’s employment 3 days after

25 his final complaint regarding an unsafe work environment.
26 108.     Pursuant to Government Code section 6310, subdivision (b), Plaintiff is entitled to

27 reinstatement and reimbursement for lost wages and work benefits.
28 ///
                                                       -11-
                                                  COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 18 of 59




 1                                   TWELFTH CAUSE OF ACTION

 2                              Intentional Infliction of Emotional Distress

 3                                  By Plaintiff Against All Defendants

 4 109.     Plaintiff incorporates by reference the paragraphs above.

 5 110.     The conduct of Defendants, as set forth above, was so extreme and outrageous that it

 6 exceeded the boundaries of a decent society and lied outside the compensation bargain.
 7 111.     Said conduct was intended to cause Plaintiff severe emotional distress or was done in

 8 conscious disregard of the probability of causing severe emotional distress. Said conduct was also
 9 in direct violation of California law and public policy.
10 112.     As a proximate result of the wrongful conduct of Defendants, Plaintiffs have sustained

11 substantial losses in earnings and other employment benefits in an amount according to proof at the
12 time of trial.
13 113.     As a further proximate result of the wrongful conduct of Defendants, Plaintiff have suffered

14 and continue to suffer humiliation, embarrassment, sever emotional distress, and mental anguish,
15 all to Plaintiff’s damage in an amount according to proof at the time of trial.
16 114.     In doing all the acts herein alleged, Defendants, through their managing agents, acted with

17 oppression, fraud, malice, and in the conscious disregard of the rights of Plaintiff. Therefore,
18 Plaintiff is also entitled to punitive damages in an amount according to proof at the time of trial.
19
20                                                PRAYER

21 First Cause of Action
22 1. Premium pay;
23 2. Attorneys’ fees;
24 3. Costs; and
25 4. Other relief the court deems proper.
26 ///
27 ///
28 ///
                                                     -12-
                                                  COMPLAINT
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 19 of 59




 1 Second Cause of Action
 2 1. Premium pay;
 3 2. Attorneys’ fees;
 4 3. Costs; and
 5 4. Other relief the court deems proper.
 6
 7 Third Cause of Action
 8 1. Unpaid minimum wage;
 9 2. Liquidated damages;
10 3. Attorneys’ fees;
11 4. Costs; and
12 5. Other relief the court deems proper
13
14 Fourth Cause of Action
15 1. Unpaid overtime wage;
16 2. Attorneys’ fees;
17 3. Costs; and
18 4. Other relief the court deems proper
19
20 Fifth Cause of Action
21 1. Waiting time penalty;
22 2. Other relief the court deems proper.
23
24 Sixth Cause of Action
25 1. Wage statement penalty;
26 2. Attorney fees and costs;
27 3. Other relief the court deems proper.
28
                                               -13-
                                             COMPLAINT
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 20 of 59




 1 Seventh Cause of Action
 2 1. Restitution of unpaid wages, premium pay, and work expenditures;
 3 2. Attorney fees and costs;
 4 3. Other relief the court deems proper.
 5
 6 Eighth Cause of Action
 7 1. Compensatory damages including, but not limited to, past and future lost wages and benefits;
 8 2. Emotional distress.
 9 3. Attorneys’ fees;
10 4. Costs;
11 5. Interest; and
12 6. Punitive damages
13
14 Ninth Cause of Action
15 1. Compensatory damages including, but not limited to, past and future lost wages and benefits;
16 2. Emotional distress.
17 3. Attorneys’ fees;
18 4. Costs;
19 5. Interest; and
20 6. Punitive damages
21
22 Tenth Cause of Action
23 1. Compensatory damages including, but not limited to, past and future lost wages and benefits;
24 2. Emotional distress.
25 3. Attorneys’ fees;
26 4. Costs;
27 5. Interest; and
28 6. Punitive damages
                                                   -14-
                                               COMPLAINT
       Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 21 of 59




 1 Eleventh Cause of Action
 2 1. Compensatory damages including, but not limited to, past and future lost wages and benefits;
 3 2. Emotional distress.
 4 3. Attorneys’ fees;
 5 4. Costs; and
 6 5. Interest
 7
 8 Twelfth Cause of Action
 9 1. Emotional distress.
10 2. Attorneys’ fees;
11 3. Costs; and
12 4. Punitive damages
13 Date: December 30, 2020                             FRONTIER LAW CENTER

14
15                                                     Manny Starr
16                                                     Attorney for Plaintiff
                                                       Samer Srour Ayoub
17
18
19
20
21
22
23
24
25
26
27
28
                                                   -15-
                                               COMPLAINT
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 22 of 59




                EXHIBIT C
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 23 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 24 of 59




                EXHIBIT D
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 25 of 59




                              'FCSVBSZ 



1IJMJQQF"-FCFMGPS%FGFOEBOU)BSSZ8JOTUPO *OD
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 26 of 59


 1                                          PROOF OF SERVICE

 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3   I declare that: I am employed in the county of Los Angeles, California. I am over the age of eighteen
     years and not a party to the within cause; my business address is 2029 Century Park East, Suite
 4   2400, Los Angeles, CA 90067-3010.
 5   On February 24, 2021, I served the following document(s), described as:
 6                                ACKNOWLEDGMENT OF RECEIPT
 7          by placing     the original    a true copy thereof enclosed in sealed envelopes addressed as
            follows:
 8
            Manny Starr, Esq.
 9          Daniel Ginzburg, Esq.
            FRONTIER LAW CENTER
10          23901 Calabasas Road, Suite 2074
11          Calabasas, California 91302
            Telephone: (818) 914-3433
12          Facsimile: (818) 914-3433
            Email: manny@frontierlawcenter.com
13                 dan@frontierlawcenter.com
14
             (By E-Mail) By transmitting a true and correct copy thereof via electronic mail to the
15           served parties.

16          (By Mail) I am “readily familiar” with the Firm’s practice of collection and processing
            correspondence for mailing. Under that practice, it would be deposited with U.S. postal
17          service on that same day with postage thereon fully prepaid at Los Angeles, California, in
            the ordinary course of business. I am aware that on motion of the party served, service is
18          presumed invalid if postal cancellation date or postage meter date is more than one day after
            date of deposit for mailing in affidavit.
19
            (By Personal Service) By personally delivering such envelope to the addressee.
20

21
            (By Overnight Delivery) By causing such envelopes to be delivered by the office of the
22          addressee by OVERNIGHT DELIVERY via Federal Express or by other similar overnight
            delivery service.
23
            (State) I declare under penalty of perjury under the laws of the State of California that the
24          above is true and correct.

25   Executed on February 24, 2021, at Los Angeles, California.

26
                  Robert Linton
27              Type or Print Name                                          Signature

28
                                                      -1-
                                              PROOF OF SERVICE
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 27 of 59




                EXHIBIT E
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 28 of 59


 1   ANTHONY J. ONCIDI (SBN 118135)
     aoncidi@proskauer.com
 2   PHILIPPE A. LEBEL (SBN 274032)
     plebel@proskauer.com
 3   DYLAN K. TEDFORD (SBN 332951)
     dtedford@proskauer.com
 4   PROSKAUER ROSE LLP
     2029 Century Park East, 24th Floor
 5   Los Angeles, CA 90067-3010
     Telephone: (310) 557-2900
 6   Facsimile: (310) 557-2193

 7   Attorneys for Defendant,
     HARRY WINSTON, INC.
 8

 9

10                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
11                         FOR THE COUNTY OF SAN FRANCISCO
12                                  UNLIMITED JURISDICTION
13

14   SAMER SROUR AYOUB,                         Case No. CGC21588879
                                Plaintiff,
15
                                                DEFENDANT HARRY WINSTON, INC.’S
16        vs.                                   ANSWER TO PLAINTIFF’S COMPLAINT
                                                FOR DAMAGES
17   HARRY WINSTON, INC. and DOES 1 to 100,
     inclusive,
18                         Defendants.          Dept: 206
                                                Judge: Hon. Samuel K. Feng
19
                                                Complaint Filed: 1/12/2021
20                                              Trial Date: None set

21

22

23

24

25

26

27

28



                      HARRY WINSTON INC.’S ANSWER TO COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 29 of 59



 1           Defendant Harry Winston, Inc. (“Harry Winston”) hereby answers, objects and otherwise

 2   responds to Plaintiff Samer Srour Ayoub’s (“Ayoub” or “Plaintiff”) unverified Complaint

 3   (“Complaint”) filed in the Superior Court of California for the County of San Francisco on

 4   January 12, 2021 as follows:

 5                                                GENERAL DENIAL

 6           Pursuant to section 431.30(d) of the California Code of Civil Procedure, Harry Winston

 7   denies, generally and specifically, each and every allegation in Plaintiff’s Complaint. Harry

 8   Winston further denies, generally and specifically, that Plaintiff is entitled to the relief requested,

 9   or that Plaintiff has been or will be damaged in any sum, or at all, by reason of any act or omission

10   on the part of Harry Winston, or any of its past or present, agents, affiliates, representatives,

11   subsidiaries, or employees.

12                               SEPARATE AND AFFIRMATIVE DEFENSES

13          Without admitting any of the facts alleged by Ayoub, Harry Winston also pleads the

14   following separate and affirmative defenses to the Complaint:1

15                                       FIRST AFFIRMATIVE DEFENSE

16                                       (Failure to State a Cause of Action)

17           1.      The Complaint, and each purported cause of action alleged therein, fails to state

18   facts sufficient to constitute a cause of action against Harry Winston.

19                                     SECOND AFFIRMATIVE DEFENSE

20                                (Failure to Exhaust Administrative Remedies)

21           2.      Plaintiff’s Eighth and Ninth Causes of Action and any related requests for relief are

22   barred, in whole or in part, to the extent that Plaintiff failed to exhaust his administrative remedies.

23                                      THIRD AFFIRMATIVE DEFENSE

24                                               (Statute of Limitations)

25           3.      The Complaint, and each cause of action alleged therein, is barred, in whole or in

26
     1
27    In setting forth the following “affirmative defenses,” Harry Winston does not concede that it has the burden of proof
     or production on any of them, and does not assume the burden of proof with respect to any matter as to which Plaintiff
28   has the burden of proof.


                                               -1-
                            HARRY WINSTON INC.’S ANSWER TO COMPLAINT
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 30 of 59



 1   part, by all applicable statutes of limitation, including but not limited to the California Fair

 2   Employment and Housing Act (“FEHA”), California Government Code section 12960 et seq., and

 3   California Code of Civil Procedure sections 335.1 and 338.

 4                                  FOURTH AFFRMATIVE DEFENSE

 5                                              (Unclean Hands)

 6              4.   The Complaint, and each cause of action and request for relief alleged therein, is

 7   barred, in whole or in part, by the doctrine of unclean hands.

 8                                   FIFTH AFFIRMATIVE DEFENSE

 9                                                 (Estoppel)

10              5.   Plaintiff is estopped from pursuing the Complaint, and each cause of action alleged

11   therein, by reason of his own actions and course of conduct.

12                                   SIXTH AFFIRMATIVE DEFENSE

13                                           (Unjust Enrichment)

14              6.   Plaintiff is barred from any recovery pursuant to the Complaint because any such

15   recovery would constitute unjust enrichment.

16                                 SEVENTH AFFIRMATIVE DEFENSE

17                                        (Avoidable Consequences)

18              7.   Ayoub’s recovery pursuant to his purported harassment claims is barred under the

19   avoidable consequences doctrine on the grounds that Ayoub failed to exercise reasonable care and

20   diligence to avoid harm or loss that could have reasonably been prevented by such reasonable

21   efforts.

22                                  EIGHTH AFFIRMATIVE DEFENSE

23                                  (Workers’ Compensation Exclusivity)

24              8.   Any and all causes of action in the Complaint based in whole or in part upon any

25   alleged physical or emotional injury or distress are barred because Plaintiff’s sole and exclusive

26   remedy, if any, for such injuries is governed by the California Workers’ Compensation Act, Labor

27   Code sections 3600 et seq., and before the California Workers’ Compensation Appeals Board.

28

                                              -2-
                           HARRY WINSTON INC.’S ANSWER TO COMPLAINT
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 31 of 59



 1                                  NINTH AFFIRMATIVE DEFENSE

 2                         (Outside Scope of Administrative Charge/Complaint)

 3          9.     Plaintiff’s Eighth and Ninth Causes of Action and any related requests for relief are

 4   barred, in whole or in part, to the extent that any allegations related to those causes of action fall

 5   outside the scope of any administrative charge(s) filed by Plaintiff with the California Department

 6   of Fair Employment and Housing (“DFEH”) and/or the U.S. Equal Employment Opportunity

 7   Commission (“EEOC”).

 8                                  TENTH AFFIRMATIVE DEFENSE

 9                (Same Actions/Decisions Absent Alleged Discrimination/Retaliation)

10          10.     Plaintiff’s Tenth and Eleventh Causes of Action and related requests for relief are

11   barred, in whole or in part, because Harry Winston did not engage in discriminatory, retaliatory or

12   otherwise unlawful conduct as alleged with respect to Plaintiff, but, even if it did, Harry Winston

13   would have taken the same employment action(s) for legitimate, non-discriminatory, non-

14   retaliatory, non-pretextual reasons absent such allegedly unlawful motivation(s).

15                               ELEVENTH AFFIRMATIVE DEFENSE

16                (Reasonable Steps to Prevent Discrimination/Harassment/Retaliation)

17          11.    Plaintiff’s Eighth and Ninth Causes of Action and request for punitive and/or

18   exemplary damages are barred, in whole or in part, because Harry Winston took all reasonable

19   steps to secure a workplace free of unlawful discrimination, harassment, and/or retaliation,

20   including by implementing policies and practices prohibiting unlawful discrimination, harassment

21   and/or retaliation in the workplace at all relevant times during Plaintiff’s employment, of which

22   Plaintiff unreasonably failed to avail himself.

23                                TWELFTH AFFIRMATIVE DEFENSE

24                                       (Adequate Remedy at Law)

25          12.    Plaintiff’s request for injunctive and/or other equitable relief is barred because

26   Plaintiff has a complete and adequate remedy at law.

27

28

                                             -3-
                          HARRY WINSTON INC.’S ANSWER TO COMPLAINT
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 32 of 59



 1                              THIRTEENTH AFFIRMATIVE DEFENSE

 2                                           (Failure to Mitigate)

 3          13.    Plaintiff’s Seventh through Twelfth Causes of Action and corresponding requests for

 4   relief are barred, in whole or in part, to the extent Plaintiff failed to mitigate his alleged damages,

 5   which are denied.

 6                             FOURTEENTH AFFIRMATIVE DEFENSE

 7                                  (Punitive Damages Unconstitutional)

 8          14.    Plaintiff is not entitled to recover punitive or exemplary damages under the

 9   Complaint because such an award would violate Harry Winston’s rights under the Constitution of

10   the United States of America and the Constitution of the State of California, including, but not

11   limited to, Harry Winston’s rights to: (1) procedural due process under the Constitution of the

12   State of California and the Fourteenth Amendment of the Constitution of the United States of

13   America; (2) protection from excessive fines as provided in the Eighth Amendment of the

14   Constitution of the United States of America, and Article I, Section 17 of the Constitution of the

15   State of California; and (3) substantive due process provided in the Constitution of the State of

16   California and the Fifth and Fourteenth Amendments of the Constitution of the United States of

17   America.

18                               FIFTEENTH AFFIRMATIVE DEFENSE

19                                               (No Overtime)

20          15.    Each and every cause of action relating to purported “overtime,” is barred on the

21   ground that, to the extent Plaintiff did work in excess of eight hours in any day or more than 40

22   hours in any workweek, such additional “work” was not authorized by Harry Winston and

23   performed without Harry Winston’s knowledge or control.

24                               SIXTEENTH AFFIRMATIVE DEFENSE

25                                  (No Willful Non-Payment of Wages)

26          16.    If Harry Winston is found to have failed to pay Plaintiff, or otherwise acted contrary

27   to the law, as alleged in the Complaint, which Harry Winston denies, Harry Winston acted at all

28   times on the basis of a good faith and reasonable belief that its actions were in compliance and

                                             -4-
                          HARRY WINSTON INC.’S ANSWER TO COMPLAINT
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 33 of 59



 1   conformity with all applicable federal and state laws and/or written administrative regulations,

 2   orders, rulings, guidance, and/or interpretations, and therefore Harry Winston’s actions were not

 3   willful, knowing, intentional, or in reckless disregard of the law. In particular, as to the issuance

 4   of Plaintiff’s final wages upon resignation, the imposition of penalties pursuant to Labor Code

 5   section 203 is unwarranted because Harry Winston timely paid Plaintiff his final wages following

 6   his resignation and, therefore, there is a good faith dispute that any additional “wages” are or were

 7   due.

 8                             SEVENTEENTH AFFIRMATIVE DEFENSE

 9                            (Failure to Comply with Employer’s Directives)

10          17.    Plaintiff’s First, Second, Third, Fourth, Fifth, Sixth, and Seventh Causes of Action

11   are barred, in whole or in part, to the extent that Plaintiff failed to substantially comply with all the

12   directions of his employer, as required by California Labor Code section 2856.

13                              EIGHTEENTH AFFIRMATIVE DEFENSE

14                                           (No Injury Suffered)

15          18.    Plaintiff’s purported cause of action under California Business and Professions Code

16   sections 17200 et seq. is barred to the extent he did not suffer actual injury.

17                              NINETEENTH AFFIRMATIVE DEFENSE

18                                 (Consent/Waiver of Meal/Rest Breaks)

19          19.    Plaintiff’s causes of action for alleged rest and/or meal break violations and any

20   derivative claims fail, in whole or in part, because to the extent Plaintiff failed to take a compliant

21   rest or meal break, he consented to waive or otherwise voluntarily waived his statutorily mandated

22   breaks, in accordance with California law.

23                              TWENTIETH AFFIRMATIVE DEFENSE

24                                                  (Laches)

25          20.    The Complaint, and each cause of action and request for relief alleged therein, is

26   barred, in whole or in part, by the doctrine of laches.

27

28

                                             -5-
                          HARRY WINSTON INC.’S ANSWER TO COMPLAINT
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 34 of 59



 1                          RESERVATION OF ADDITIONAL DEFENSES

 2          Harry Winston may not presently be aware of all available affirmative defenses.

 3   Accordingly, Harry Winston expressly reserves its right to amend this pleading to include further

 4   affirmative defenses, if warranted by further investigation and/or discovery.

 5                                         PRAYER FOR RELIEF

 6   WHEREFORE, HARRY WINSTON PRAYS FOR JUDGMENT AS FOLLOWS:

 7         1. That an award be made in favor of Harry Winston and against Plaintiff;

 8         2. That Plaintiff take nothing by his Complaint;

 9         3. That judgment be entered in favor of Harry Winston and that the case be dismissed in its

10             entirety with prejudice;

11         4. That Harry Winston be awarded its costs of suit and reasonable attorneys’ fees; and

12         5. For such other and further relief as the Court deems just and proper.

13

14   Dated: March 3, 2021                       PROSKAUER ROSE LLP
15

16

17
                                          By:
18                                              Anthony
                                                    hony J. Oncidi
                                                Philippe A. Lebel
19
                                                Dylan K. Tedford
20
                                                Attorneys for Defendant
21                                              HARRY WINSTON, INC.

22

23

24

25

26

27

28

                                            -6-
                         HARRY WINSTON INC.’S ANSWER TO COMPLAINT
         Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 35 of 59


 1                                          PROOF OF SERVICE

 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3   I declare that: I am employed in the county of Los Angeles, California. I am over the age of eighteen
     years and not a party to the within cause; my business address is 2029 Century Park East, Suite
 4   2400, Los Angeles, CA 90067-3010.
 5   On March 3, 2021, I served the following document(s), described as:
 6                       DEFENDANT HARRY WINSTON, INC.’S ANSWER TO
                            PLAINTIFF’S COMPLAINT FOR DAMAGES
 7
            by placing     the original    a true copy thereof enclosed in sealed envelopes addressed as
 8          follows:
 9          Manny Starr, Esq.
            Daniel Ginzburg, Esq.
10
            FRONTIER LAW CENTER
11          23901 Calabasas Road, Suite 2074
            Calabasas, California 91302
12          Telephone: (818) 914-3433
            Facsimile: (818) 914-3433
13          Email: manny@frontierlawcenter.com
                   dan@frontierlawcenter.com
14

15           (By E-Mail) By transmitting a true and correct copy thereof via electronic mail to the
             served parties.
16
            (By Mail) I am “readily familiar” with the Firm’s practice of collection and processing
17          correspondence for mailing. Under that practice, it would be deposited with U.S. postal
            service on that same day with postage thereon fully prepaid at Los Angeles, California, in
18          the ordinary course of business. I am aware that on motion of the party served, service is
            presumed invalid if postal cancellation date or postage meter date is more than one day after
19          date of deposit for mailing in affidavit.
20
            (By Personal Service) By personally delivering such envelope to the addressee.
21

22          (By Overnight Delivery) By causing such envelopes to be delivered by the office of the
            addressee by OVERNIGHT DELIVERY via Federal Express or by other similar overnight
23          delivery service.

24          (State) I declare under penalty of perjury under the laws of the State of California that the
            above is true and correct.
25
     Executed on March 3, 2021, at Los Angeles, California.
26

27                Robert Linton
                Type or Print Name                                          Signature
28
                                                      -1-
                                              PROOF OF SERVICE
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 36 of 59




                EXHIBIT F
&$6(180%(5&*&6$0(565285$<28%96+$55<:,16721,1&(7$/
        Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 37 of 59
                                     127,&(723/$,17,))
$&DVH0DQDJHPHQW&RQIHUHQFHLVVHWIRU

                 '$7(       -81
                 7,0(       $0

                 3/$&(      'HSDUWPHQW
                             0F$OOLVWHU6WUHHW
                             6DQ)UDQFLVFR&$
$OOSDUWLHVPXVWDSSHDUDQGFRPSO\ZLWK/RFDO5XOH

 &5&UHTXLUHVWKHILOLQJDQGVHUYLFHRIDFDVHPDQDJHPHQWVWDWHPHQWIRUP&0
 QRODWHUWKDQGD\VEHIRUHWKHFDVHPDQDJHPHQWFRQIHUHQFH+RZHYHULWZRXOGIDFLOLWDWH
 WKHLVVXDQFHRIDFDVHPDQDJHPHQWRUGHU ZLWKRXWDQDSSHDUDQFH DWWKHFDVH
 PDQDJHPHQWFRQIHUHQFHLIWKHFDVHPDQDJHPHQWVWDWHPHQWLVILOHGDQGVHUYHGWZHQW\ILYH
 GD\VEHIRUHWKHFDVHPDQDJHPHQWFRQIHUHQFH

3ODLQWLIIPXVWVHUYHDFRS\RIWKLVQRWLFHXSRQHDFKSDUW\WRWKLVDFWLRQZLWKWKHVXPPRQVDQG
FRPSODLQW3URRIRIVHUYLFHVXEVHTXHQWO\ILOHGZLWKWKLVFRXUWVKDOOVRVWDWH 7KLVFDVHLV
HOLJLEOHIRUHOHFWURQLFILOLQJDQGVHUYLFHSHU/RFDO5XOH)RUPRUHLQIRUPDWLRQ
SOHDVHYLVLWWKH&RXUW VZHEVLWHDWZZZVIVXSHULRUFRXUWRUJXQGHU2QOLQH6HUYLFHV
>'()(1'$176$WWHQGLQJWKH&DVH0DQDJHPHQW&RQIHUHQFHGRHVQRWWDNHWKHSODFH
RIILOLQJDZULWWHQUHVSRQVHWRWKHFRPSODLQW<RXPXVWILOHDZULWWHQUHVSRQVHZLWKWKH
FRXUWZLWKLQWKHWLPHOLPLWUHTXLUHGE\ODZ6HH6XPPRQV@

                 $/7(51$7,9(',6387(5(62/87,215(48,5(0(176

  ,7,67+(32/,&<2)7+(683(5,25&28577+$7(9(5<&,9,/&$6(6+28/'3$57,&,3$7(,1
  0(',$7,21$5%,75$7,211(875$/(9$/8$7,21$1($5/<6(77/(0(17&21)(5(1&(25
  27+(5$335235,$7()2502)$/7(51$7,9(',6387(5(62/87,2135,2572$75,$/


   6((/2&$/58/(


3ODLQWLII PXVW VHUYHDFRS\RIWKH$OWHUQDWLYH'LVSXWH5HVROXWLRQ $'5 ,QIRUPDWLRQ3DFNDJH
RQHDFKGHIHQGDQWDORQJZLWKWKHFRPSODLQW &5& 7KH$'5SDFNDJHPD\EH
DFFHVVHGDWZZZVIVXSHULRUFRXUWRUJGLYLVLRQVFLYLOGLVSXWHUHVROXWLRQRU\RXPD\UHTXHVWD
SDSHUFRS\IURPWKHILOLQJFOHUN$OOFRXQVHOPXVWGLVFXVV$'5ZLWKFOLHQWVDQGRSSRVLQJ
FRXQVHODQGSURYLGHFOLHQWVZLWKDFRS\RIWKH$'5,QIRUPDWLRQ3DFNDJHSULRUWRILOLQJ
WKH&DVH0DQDJHPHQW6WDWHPHQW
6XSHULRU&RXUW$OWHUQDWLYH'LVSXWH5HVROXWLRQ$GPLQLVWUDWRU
0F$OOLVWHU6WUHHW5RRP$
6DQ)UDQFLVFR&$
  


6HH/RFDO5XOHV&DQG%UHVWLSXODWLRQWRMXGJHSURWHP
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 38 of 59




                EXHIBIT F
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 39 of 59




                                                         ELECTRONICALLY
                                                             FILED
                                                         Superior Court of California,
                                                          County of San Francisco

                                                             01/12/2021
                                                         Clerk of the Court
                                                            BY: KALENE APOLONIO
                                                                      Deputy Clerk



                                                               CGC-21-588879
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 40 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 41 of 59




                EXHIBIT F
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 42 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 43 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 44 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 45 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 46 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 47 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 48 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 49 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 50 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 51 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 52 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 53 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 54 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 55 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 56 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 57 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 58 of 59
Case 4:21-cv-01599-JST Document 1-1 Filed 03/05/21 Page 59 of 59
